                                          Case 2:16-ap-01374-ER     Doc 49 Filed 07/12/17 Entered 07/12/17 12:58:13                    Desc
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                                             1   WILLIAM E. CROCKETT (SBN 129383)
                                                 LAW OFFICES OF WILLIAM E. CROCKETT
                                             2   16000 Ventura Boulevard, Suite 1000
                                                 Encino, CA 91436                                             FILED & ENTERED
                                             3   Phone: (818) 501-0087
                                                 Fax: (818) 501-0092
                                             4   Email: wec@weclaw.com                                             JUL 12 2017
                                             5   Attorneys for Defendant Benjamin Kirk
                                                                                                              CLERK U.S. BANKRUPTCY COURT
                                                                                                              Central District of California
                                             6                                                                BY gonzalez DEPUTY CLERK


                                             7
                                                                                                     CHANGES MADE BY COURT
                                             8                         UNITED STATES BANKRUPTCY COURT
                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                             9                               LOS ANGELES DIVISION
                                            10
                                                 In re:                                          Case No. 2:16-BK-13575-ER
LAW OFFICES OF WILLIAM E. CROCKETT




                                            11
                                                 LIBERTY ASSET MANAGEMENT                        Adv. No.: 2:16-ap-01374-ER
    16000 Ventura Boulevard, Suite 1000

    T:(818) 501-0087 F:(818) 501-0092




                                            12   CORPORATION, a California corporation,
                                                                                                 Chapter 11
                                            13                       Debtor and
             Encino, CA 91436




                                                                                                 ORDER GRANTING MOTION TO
                                            14                       Debtor in Possession.       WITHDRAW AS COUNSEL OF
                                                                                                 RECORD FOR BENJAMIN KIRK
                                            15
                                            16
                                                 OFFICIAL UNSECURED CREDITORS                    [No hearing required]
                                            17   COMMITTEE FOR LIBERTY ASSET
                                                 MANAGEMENT CORPORATION,
                                            18
                                            19                       Plaintiff,

                                            20   v.
                                            21
                                                 TSAI LUAN HO, an individual, and
                                            22   BENJAMIN KIRK, an individual,

                                            23                       Defendants.
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                                          Case 2:16-ap-01374-ER        Doc 49 Filed 07/12/17 Entered 07/12/17 12:58:13                Desc
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                                             1           The Court, having considered the Motion to Withdraw as Counsel of Record for
                                             2   Benjamin Kirk (“Motion to Withdraw”) filed by the Law Offices of William E. Crockett
                                             3   [Docket No. 41] in the above-captioned case, with proper notice of the Motion to Withdraw
                                             4   having been given, no opposition or request for hearing having been filed, and good cause
                                             5   appearing therefor:
                                             6           IT IS HEREBY ORDERED that the Motion to Withdraw is granted. Benjamin Kirk is
                                             7   strongly advised to retain new counsel. Mr. Kirk is further advised that if he does not retain
                                             8   counsel, he will be held to the same standard as an attorney, and no dates in this action will be
                                             9   continued based on Mr. Kirk’s lack of representation by counsel.
                                            10           IT IS FURTHER ORDERED that the Clerk of the Court shall update the docket to
LAW OFFICES OF WILLIAM E. CROCKETT




                                            11   reflect Mr. Kirk’s address, as follows:
    16000 Ventura Boulevard, Suite 1000

    T:(818) 501-0087 F:(818) 501-0092




                                            12   Benjamin Kirk
                                            13   4110 Edison Avenue, Apt. 208A
             Encino, CA 91436




                                            14   Chino, CA 91710
                                            15           IT IS FURTHER ORDERED that by no later than July 19, 2017, Mr. Crockett shall
                                            16   serve this order upon Mr. Kirk and shall file a proof of service so indicating.
                                            17           IT IS SO ORDERED.
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                                            25Date: July 12, 2017
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